                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                     )
                                               )
               Plaintiff,                      )
                                               )
 v.                                            )         No.:   3:18-CR-117-TAV-DCP
                                               )
 RONALD C. DYER,                               )
                                               )
               Defendant.                      )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s pro se motion requesting

 jail credit [Doc. 39]. Defendant’s request cannot be granted however, because “[t]his Court

 cannot grant or compute sentence credits under 18 U.S.C. § 3585(b).” United States v.

 Williams, No. 05-20377-JDB, 2008 WL 3850212, at *1 (W.D. Tenn. Aug. 18, 2008).

 While the Court may make certain recommendations to the Bureau of Prisons, “the power

 to grant credit for time served lies solely with the Attorney General and the Bureau of

 Prisons.” United States v. Crozier, 259 F.3d 503, 520 (6th Cir. 2001) (citing 18 U.S.C.

 § 3535(b); United States v. Wilson, 503 U.S. 329, 333 (1992)); see also United States v.

 Brown, 417 F. App’x 488, 493 (6th Cir. 2011) (“[A]warding credit for time served is the

 exclusive responsibility of the Bureau of Prisons.”).

        If the Bureau of Prisons declines to credit the defendant’s time served, the defendant

 may then raise his claims through the Bureau’s Administrative Remedy Program. Setser

 v. United States, 566 U.S. 231, 244 (2012) (citing 28 C.F.R. § 542.10, et seq.). After




Case 3:18-cr-00117-TAV-DCP Document 40 Filed 10/27/21 Page 1 of 2 PageID #: 125
 exhausting his administrative remedies, the defendant may then petition for a writ of habeas

 corpus under 28 U.S.C. § 2241, a petition which must be filed in defendant’s district of

 confinement. Id.

        Accordingly, defendant’s motion requesting jail credit [Doc. 39] is hereby

 DENIED.

        IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    UNITED STATES DISTRICT JUDGE




                                              2


Case 3:18-cr-00117-TAV-DCP Document 40 Filed 10/27/21 Page 2 of 2 PageID #: 126
